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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 TEXAS ASSOCIATION FOR MONEY                        §
 SERVICES BUSINESSES (TAMSB),                       §
                                                    §
        Plaintiff,                                  §
                                                    §
                        v.                          §             CIVIL ACTION NO. 25-344
                                                    §
 PAM BONDI, ATTORNEY                                §   Complaint for Declaratory Judgment and
 GENERAL OF THE UNITED                              §   Injunctive Relief
 STATES;SCOTT BESSENT, SECRETARY                    §
 OF THE TREASURY; UNITED STATES                     §
 DEPARTMENT OF THE TREASURY;                        §
 ANDREA GACKI, DIRECTOR OF THE                      §
 FINANCIAL CRIMES ENFORCEMENT                       §
 NETWORK; FINANCIAL CRIMES                          §
 ENFORCEMENT NETWORK,                               §
                                                    §
        Defendants.                                 §

                       PLAINTIFF’S ORIGINAL COMPLAINT FOR
               DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

                                      INTRODUCTION

       Money Services Business (MSB) play a critical role in the American economy. For

millions of Americans and visitors to our country, these businesses exchange currency, make

money orders, wire transfer money, and provide other services for the unbanked. Most MSBs in

Texas along the border are small, privately-held, family businesses that offer currency exchange

at competitive prices where it is needed. On March 11, 2024, the Financial Crimes Enforcement

Network (FINCEN) issued a Geographic Targeting Order that requires all money services

businesses located in 30 ZIP codes across California and Texas near the southwest border to file

Currency Transaction Reports (CTRs) with FinCEN at a $200 threshold, in connection with cash

transactions. A typical CTR (filed via FinCEN Form 112) includes customer identity

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information, details about the transaction, and information about the MSB and its employee

performing the transaction. The current financial threshold for a CTR is $10,000 per transaction.

As a result, the average number of CTRs for a typical MSB is estimated to increase by several

orders of magnitude. For instance, one company which is a member of TAMSB has reported that

it currently averages 9 CTRs across its dozens of locations in Texas per week. Now should the

order become effective, this MSB will need to file nearly 50,000 CTRs per week.

       The administrative burden on the typical MSB will be financially ruinous for these

businesses. Most customers of money services businesses in the targeted zip codes will take their

business elsewhere, largely to similar stores in Mexico where many are unregulated. Most

Members of TAMSB will simply cease to exist if this Geographic Targeting Order becomes

effective. The blast radius of the effect of this order will not just affect MSBs, but rather a whole

microcosm of commerce in these zip codes. Many American border communities are heavily

reliant on transnational commerce. The end of MSBs in these zip codes will destroy these

economies, as well.

       TAMSB files this suit seeking declarative and injunctive relief against the misguided

overreach of FINCEN and the federal government.

                                             PARTIES

       1.      Plaintiff Texas Association for Money Service Businesses (TAMSB) brings this

action under the Administrative Procedure Act ("APA"), 5 U.S.C. §§ 701-706, the Declaratory

Judgment Act, 28 U.S.C. §§ 2201-2202, and the Fifth Amendment to the United States

Constitution. Plaintiff seeks to challenge the unlawful and unconstitutional application of a

Geographic Targeting Order ("GTO") issued by FinCEN, which imposes burdensome and


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discriminatory obligations on Plaintiff without lawful basis. TAMSB is a Texas non-profit

organization, whose members are Money Services Businesses affected by the Geographic

targeting order (GTO). TAMSB’s principal place of business in which it transacts all of its

business is in San Antonio, Texas.

       2.      Defendant Pam Bondi is the Attorney General of the United States and is sued in

her official capacity as the chief law enforcement officer of the United States.

       3.      AG Bondi is responsible for the uniform administration and enforcement of

federal criminal law in the United States, including the offenses created by the Bank Secrecy

Act.

       4.      Defendant Scott Bessent is the United States Secretary of the Treasury and is sued

in his official capacity as the head of the U.S. Department of the Treasury.

       5.      Defendant U.S. Department of the Treasury is an executive agency of the United

States tasked with administration and enforcement of the Bank Secrecy Act and its implementing

regulations.

       6.      Defendant Andrea Gacki is the Director of the Financial Crimes Enforcement

Network (FinCEN), a bureau of the U.S. Department of the Treasury, and is sued in her official

capacity as head of FinCEN.

       7.      Defendant Financial Crimes Enforcement Network is a bureau of a federal agency

tasked with administration and enforcement of the CTA and its implementing regulations.

                                JURISDICTION AND VENUE

       8.      This Court has jurisdiction pursuant to 5 U.S.C. § 702 and 28 U.S.C. § 1331.

       9.      This Court has the authority to grant an injunction and declaratory judgment in

this matter pursuant to 28 U.S.C. §§ 2201, 2202, and 5 U.S.C. §§ 705, 706(2).

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        10.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because

Defendants are federal agencies and officers, and Plaintiff resides and conducts business in this

district.

                                              FACTS

        11.      Money Services Businesses (MSBs) play a crucial role in Texas's financial

ecosystem, providing essential services such as money transmission, currency exchange, and

issuing or redeeming money orders and traveler's checks. These businesses are regulated at both

federal and state levels to ensure compliance with financial laws and to protect consumers.

        12.      An MSB is generally defined as any person or entity that conducts one or more of

the following activities: currency exchange, check cashing, issuing or selling traveler's checks,

money orders, or stored value cards, or money transmission.

        13.      In Texas, MSBs are regulated under the Money Services Modernization Act,

codified in Chapter 152 of the Texas Finance Code. This legislation outlines the licensing

requirements and operational standards for MSBs operating within the state. The Texas

Department of Banking oversees the implementation and enforcement of these regulations.

        14.      MSBs in Texas must adhere to several compliance obligations, including

registration with FINCEN, Anti-Money Laundering (AML) Programs, Recordkeeping and

Reporting.

        15.      The Texas Department of Banking has the authority to enforce compliance

through examinations and investigations. Non-compliance can result in administrative penalties,

license suspension or revocation, and, in some cases, criminal charges.




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       16.     MSBs are integral to Texas's financial landscape, facilitating various monetary

transactions for individuals and businesses. Strict regulatory oversight ensures these entities

operate transparently and ethically, safeguarding the financial system and its participants.

       17.     The federal framework under the Bank Secrecy Act (BSA) and related FinCEN

regulations is strict and aggressively enforced.

       18.     MSBs are subject to comprehensive federal regulation under the Bank Secrecy

Act (BSA) and its implementing regulations administered by the Financial Crimes Enforcement

Network (FinCEN), a bureau of the U.S. Department of the Treasury. As part of this framework,

MSBs are required to register with FinCEN, implement and maintain a written anti-money

laundering (“AML”) program, and comply with federal recordkeeping and reporting obligations.

       19.     Among the core regulatory duties imposed on MSBs are: registration with

FinCEN within 180 days of beginning operations, implementation of an AML program that

includes risk-based internal controls, training, independent testing, and designation of a

compliance officer; Filing of Suspicious Activity Reports (SARs) for certain transactions, and

Currency Transaction Reports (CTRs) for cash transactions over $10,000.

       20.     Failure to comply with these regulations carries significant civil and criminal

consequences. Under 31 U.S.C. §§ 5318 and 5321, civil penalties may be imposed in amounts of

up to $5,000 per day for failure to register as an MSB, and up to $100,000 or more per violation

for failures related to AML programs or reporting obligations. Additionally, criminal penalties

may be imposed under 31 U.S.C. § 5322 for willful violations, including up to five years’

imprisonment and fines of $250,000 for individuals and $500,000 for business entities.




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       21.     In 2022, for example, FinCEN imposed a $1.5 million civil penalty on a money

services business that failed to file required reports and operated without an AML program. The

same entity was criminally charged for willful violations of the BSA.

       22.     Accordingly, compliance with FinCEN regulations is not merely procedural—it is

essential to the lawful operation and survival of an MSB within the regulated financial

environment.

       23.     Under the authority granted by the Bank Secrecy Act (BSA), 31 U.S.C. §

5318(a)(2), and its implementing regulations at 31 C.F.R. § 1010.370, the Secretary of the

Treasury, acting through the Financial Crimes Enforcement Network (FinCEN), may issue

Geographic Targeting Orders (“GTOs”). These administrative orders require domestic financial

institutions or trades and businesses in a defined geographic area to collect, report, and retain

information about certain transactions that would not otherwise trigger mandatory reporting

under the BSA.

       24.     A GTO is a temporary regulatory action that may be issued for a period of up to

180 days, and may be renewed repeatedly. GTOs are not enacted through formal rulemaking,

and do not require notice-and-comment procedures, but carry the force of law once issued. They

may apply to any “financial institution” as defined by FinCEN regulations, including money

services businesses (MSBs).

       25.     FinCEN has issued GTOs in various contexts, including real estate transactions,

cash-based businesses, and high-volume transaction corridors. These orders often impose

enhanced data collection and reporting obligations, including identification of customers,

recordkeeping of transaction details, and periodic submission of information to FinCEN or other

law enforcement agencies.



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       26.     Businesses subject to a GTO must comply under threat of civil and criminal

penalties for noncompliance. Such penalties may include substantial fines, suspension or

revocation of licenses, and referrals to federal law enforcement for investigation. GTOs are

typically enforced without individualized suspicion or findings related to a specific business or

actor. Instead, FinCEN issues the order based on its assessment of geographic trends in money

laundering or other financial crime risks.

       27.     The application of GTOs to MSBs often results in substantial compliance

burdens, including increased administrative costs, changes to transaction monitoring systems,

and exposure to heightened enforcement risk. Businesses may receive no formal notice or

opportunity to contest inclusion, and GTOs are not subject to internal administrative appeal or

waiver processes.

       28.     In recent years, GTOs have been issued in areas with large immigrant or minority

populations, raising concerns about disparate impact, lack of individualized findings, and

potential overreach beyond FinCEN’s statutory authority.

       29.     On March 11, 2025, the Financial Crimes Enforcement Network (FinCEN) issued

a Geographic Targeting Order (GTO) aimed at combating illicit financial activity associated with

Mexico-based cartels and other criminal organizations operating along the U.S. southwest

border. The order imposes enhanced reporting requirements on money services businesses

(MSBs) located in specific areas of Texas and California.

       30.     Per the order, MSBs operating within 30 designated ZIP codes are required to file

Currency Transaction Reports (CTRs) for cash transactions exceeding $200, a significant

reduction from the standard $10,000 threshold. This adjustment is intended to improve

transparency and facilitate detection of structured or suspicious activity.



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          31.   The GTO is effective from April 14, 2025, through September 9, 2025, unless

renewed or modified.

          32.   The order applies to MSBs located in the following Texas counties and ZIP

codes: Cameron County: 78520, 78521; El Paso County: 79901, 79902, 79903, 79905, 79907,

79935; Hidalgo County: 78503, 78557, 78572, 78577, 78596; Maverick County: 78852; Webb

County: 78040, 78041, 78043, 78045, and 78046.

          33.   MSBs covered by the GTO are required to: 1) file CTRs for cash transactions

exceeding $200 but not exceeding $10,000. This includes deposits, withdrawals, exchanges, or

other forms of currency transfer; 2) verify and record the identity of individuals conducting such

transactions, in line with anti-money laundering (AML) program requirements; and 3) submit

CTRs within 15 calendar days of the transaction date.

          34.   Members of TAMSB have multiple stores contained within the counties affected

by the GTO and face irreparable injury should the GTO go into effect.

          35.   The GTO imposes a substantial compliance burden on affected MSBs, requiring

immediate updates to reporting protocols, staff training, and internal controls. Businesses that

fail to comply may face civil or criminal penalties, including fines and potential loss of licensure.


                                     CLAIMS FOR RELIEF


                    Count I: Violation of the Administrative Procedure Act

The GTO is not in Accordance with Law and is Contrary to Constitutional Right (5 U.S.C.

                                              § 706(2))

          36.   Plaintiffs repeat and reallege each and every allegation above as if fully set forth

herein.



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        37.     The Administrative Procedure Act (APA) directs a court to “hold unlawful and set

aside” any agency rule that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law,” “contrary to constitutional right,” or “in excess of statutory jurisdiction

[or] authority.” 5 U.S.C. § 706(2)(A), (B), (C).

        38.     The GTO is “final agency action,” which is reviewable under the APA. See 5

U.S.C. § 704.

        39.     The GTO also determines rights and legal obligations, as it purports to establish

filing deadlines, including the time to file reports and corrected reports, and sets out criteria for

determining what information must be reported.

     Count II: Violation of APA – Exceeding Statutory Authority (5 U.S.C. § 706(2)(C))


        40.     Plaintiffs repeat and reallege each every allegation above as fully set forth herein.

        41.     The Bank Secrecy Act (BSA), 31 U.S.C. § 5311 et seq., grants the Secretary of

the Treasury limited and specific authority to issue Geographic Targeting Orders (GTOs)

pursuant to 31 U.S.C. § 5326(a). That statute permits the issuance of temporary orders requiring

domestic financial institutions or trades and businesses within a narrowly defined geographic

area to report certain currency transactions when there is a reasonable belief that such

transactions may be related to a violation of federal law.

        42.     The statute limits the duration of any such order to 180 days and imposes a

requirement that the Secretary reasonably identify the class of transactions and the geographic

area subject to the order. GTOs were originally designed as a tool to assist law enforcement in

detecting structured transactions and other forms of money laundering activity in narrowly

tailored, high-risk areas.



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       43.       In issuing the March 11, 2025 Geographic Targeting Order applicable to money

services businesses (MSBs) in Texas and other Southwest border regions, the Financial Crimes

Enforcement Network (FinCEN), acting under delegated authority from the Secretary of the

Treasury, exceeded the bounds of its statutory authority in both scope and substance. The order

imposes sweeping compliance obligations on a broad class of financial institutions across

multiple counties, many of which lack any individualized findings or current, case-specific

evidence of criminal activity.

       44.       Moreover, the order reduces the currency transaction reporting threshold from

$10,000 to $200—an unprecedented and ultra vires expansion of FinCEN’s authority. There is

no express or implied statutory basis within the Bank Secrecy Act or its implementing

regulations that authorizes FinCEN to impose such a low-dollar threshold, nor to do so

indefinitely through successive renewals without formal rulemaking or congressional

authorization.

       45.       The March 2025 GTO is also devoid of procedural safeguards, individualized

findings, or administrative recourse, effectively converting what was intended as a temporary

investigative tool into a de facto rule of general applicability. In doing so, FinCEN has exercised

legislative-type powers that exceed the scope of its delegated administrative authority under the

BSA and violate the APA.

       46.       Accordingly, the March 2025 GTO must be set aside as unlawful under 5 U.S.C.

§ 706(2)(C), because it was issued in excess of statutory jurisdiction, authority, or limitations,

and is not in accordance with law.

              Count III: Violation of APA – Procedural Defects (5 U.S.C. § 553)

                 Defendants failed to provide notice-and-comment rulemaking.

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       47.     The Administrative Procedure Act (APA), 5 U.S.C. § 553, establishes that federal

agencies must engage in notice-and-comment rulemaking before adopting rules that affect the

rights and obligations of regulated parties, unless a specific statutory exemption applies. Under

the APA, a “rule” includes any agency statement of general or particular applicability and future

effect designed to implement, interpret, or prescribe law or policy.

       48.     On March 11, 2025, the Financial Crimes Enforcement Network (FinCEN),

acting under delegated authority from the Secretary of the Treasury, issued a Geographic

Targeting Order (GTO) applicable to money services businesses (MSBs) operating in thirty ZIP

codes across Texas and California. This GTO significantly alters the legal obligations of affected

MSBs by lowering the transaction reporting threshold from $10,000 to $200 and requiring the

identification, recordkeeping, and reporting of routine cash transactions far below the existing

regulatory minimums.

       49.     The issuance of the GTO operates as a binding rule of general applicability,

imposing new substantive compliance requirements that extend beyond the statutory and

regulatory baseline set by the Bank Secrecy Act and its implementing rules. Affected MSBs are

compelled to modify internal operations, file additional transaction reports, collect customer data

for previously exempt transactions, and face potential penalties for noncompliance—all without

any opportunity to submit comments or raise objections prior to implementation.

       50.     Despite the substantial and ongoing impact of this order on a class of regulated

businesses, FinCEN did not fully initiate or properly conduct notice-and-comment rulemaking as

prescribed by law.

       51.     This failure to engage in notice-and-comment procedures violates the APA and

deprives affected parties, including Plaintiff, of procedural rights guaranteed by law. The GTO



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therefore constitutes an unlawful agency action that must be set aside under 5 U.S.C. § 706(2)(D)

as it was issued “without observance of procedure required by law.”


               Count IV: Violation of Due Process Clause (Fifth Amendment)


       52.     The Due Process Clause of the Fifth Amendment to the United States Constitution

prohibits the federal government from depriving any person of life, liberty, or property without

due process of law. This constitutional guarantee includes both procedural and substantive

protections, ensuring that federal agency action is not arbitrary, oppressive, or undertaken

without notice and a meaningful opportunity to be heard.

       53.     The March 11, 2025 Geographic Targeting Order (GTO), issued by the Financial

Crimes Enforcement Network (FinCEN), imposes mandatory recordkeeping, reporting, and

identification requirements on money services businesses (MSBs) operating in thirty ZIP codes

across Texas and California. These obligations are imposed under threat of civil penalties,

criminal liability, and potential loss of licensure for noncompliance.

       54.     The GTO applies automatically and indiscriminately to all MSBs located within

the designated ZIP codes, regardless of whether there is any individualized suspicion or evidence

of wrongdoing. FinCEN provided no advance notice to affected businesses prior to the issuance

of the order, and no mechanism exists to seek an exemption, request a hearing, or appeal

inclusion under the GTO’s coverage.

       55.     Plaintiff, along with similarly situated MSBs, was not notified of the agency’s

intent to impose these expanded regulatory burdens, was not given an opportunity to respond or

contest inclusion, and was not afforded any forum in which to challenge the order’s application.

As a result, Plaintiff is subject to sudden and significant compliance obligations—enforceable by

law—without any due process safeguards.

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       56.     Furthermore, the application of the GTO to businesses based solely on geographic

location, without individualized findings or a rational basis for targeting all entities within those

ZIP codes, constitutes arbitrary and capricious government action. The GTO’s indefinite

renewability and lack of procedural protections compound its due process deficiencies.

       57.     Accordingly, the issuance and enforcement of the March 2025 GTO violate the

Fifth Amendment rights of Plaintiff and other similarly situated businesses by depriving them of

protected property interests without notice, hearing, or an opportunity to contest the agency’s

determination, in violation of constitutional due process.


Count V: Violation of Equal Protection Clause (Fifth Amendment) – Racial Discrimination


       58.     Although the Equal Protection Clause is found in the Fourteenth Amendment and

applies to state action, the Supreme Court has long held that the Fifth Amendment’s Due Process

Clause incorporates equivalent equal protection guarantees that apply to the federal government.

Federal agencies, including the Department of the Treasury and its sub-agency FinCEN, are

therefore constitutionally prohibited from taking actions that are motivated by racial animus or

that discriminate on the basis of race or national origin without a compelling governmental

interest and narrowly tailored means.

       59.     On March 11, 2025, the Financial Crimes Enforcement Network (FinCEN) issued

a Geographic Targeting Order (GTO) that imposes enhanced regulatory burdens on all money

services businesses (MSBs) located within thirty ZIP codes across Texas and California. In

Texas, the ZIP codes selected are overwhelmingly concentrated in counties and neighborhoods

with large populations of Latino, Mexican American, and Mexican National residents.

       60.     The Plaintiff and many similarly situated MSBs affected by the GTO are owned

and operated by individuals of Mexican American descent or serve predominantly Latino

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immigrant communities. The services these MSBs provide—including remittances, check

cashing, and currency exchange—are closely tied to the cultural and economic practices of these

communities. The imposition of sweeping compliance burdens on these businesses, without

individualized justification or evidence of wrongdoing, disproportionately affects minority-

owned MSBs and the communities they serve.

        61.     Upon information and belief, the GTO’s geographic scope was selected in part

based on racial or ethnic demographics, rather than any narrowly tailored, evidence-based law

enforcement need. Despite the availability of more targeted enforcement mechanisms, FinCEN

chose to blanket entire ZIP codes with invasive and punitive reporting obligations that function

as a form of regulatory profiling.

        62.     Moreover, the government has not issued comparable orders in non-Latino

communities with similar or higher risk indicators, and no meaningful effort has been made to

assess or mitigate the racially disparate impact of the GTO. The GTO thus operates as a facially

neutral policy that results in disparate treatment and disparate impact on the basis of race and

national origin, in violation of the equal protection guarantees incorporated into the Fifth

Amendment.

        63.     Plaintiff has suffered and continues to suffer injury as a result of this

unconstitutional discrimination, including heightened compliance burdens, reputational harm,

economic disadvantage, and the stigmatization of operating in a targeted ethnic enclave without

lawful justification.

        64.     Accordingly, the March 2025 GTO violates the Fifth Amendment’s equal

protection guarantees and must be enjoined and set aside.




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       Count VI: Violation of Equal Protection Clause (Fifth Amendment) – Political
                                     Discrimination


        65.     The Equal Protection component of the Fifth Amendment’s Due Process Clause

prohibits the federal government from engaging in intentional viewpoint-based or political

discrimination absent a compelling governmental interest and a means narrowly tailored to

achieve it. The government may not penalize or burden individuals or entities based on their

political affiliation, associations, or the political character of the communities in which they

reside or operate.

        66.     On March 11, 2025, the Financial Crimes Enforcement Network (FinCEN) issued

a Geographic Targeting Order (GTO) directing enhanced compliance obligations at money

services businesses (MSBs) operating within thirty ZIP codes across Texas and California. In

Texas, the targeted ZIP codes are concentrated in counties and municipalities—such as El Paso,

Hidalgo, Webb and Cameron Counties—that have been historically and consistently Democratic

in local, state, and federal elections.

        67.     Upon information and belief, the geographic scope of the GTO was not based

exclusively on financial crime data or neutral risk metrics. Rather, the selection of covered areas

aligns closely with political demographics, disproportionately subjecting Democratic-leaning

regions to increased federal surveillance and regulatory burden, while exempting similarly

situated jurisdictions with comparable economic or geographic risk indicators but Republican-

leaning voter bases.

        68.     The Plaintiff operates in one or more of the identified Democratic strongholds and

is now subject to additional federal oversight, intrusive data collection requirements, and

enhanced threat of enforcement solely by virtue of geographic location. The GTO does not


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provide any mechanism to challenge inclusion or seek exemption, nor does it identify specific

evidence justifying its blanket application to these communities. There is no lawful justification

for the differential treatment of MSBs located in predominantly Democratic regions when

similarly situated businesses elsewhere are left unaffected.

          69.      By selectively imposing burdens based on the political character of local

jurisdictions, FinCEN has engaged in viewpoint discrimination in violation of the Fifth

Amendment’s equal protection guarantees. The order constitutes an unconstitutional exercise of

governmental power that penalizes political association without sufficient justification or

procedural safeguards.

          70.      Accordingly, the March 2025 GTO must be declared unlawful and set aside as a

violation of the Fifth Amendment.


                                        PRAYER FOR RELIEF


WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against Defendants as

follows:

   (i)          The issuance of an injunction prohibiting Defendants from enforcing the GTO

                pursuant to 5 U.S.C. § 705 and 28 U.S.C. § 2201;

   (ii)         A declaratory judgment, pursuant to 5 U.S.C. § 706(2) and 28 U.S.C. § 2202,

                invalidating the GTO;

   (iii)        An award of attorneys’ fees and costs to Plaintiff; and

   (iv)         Any other relief as the Court deems just, equitable and proper.




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DATE: April 1, 2025              Respectfully submitted,

                                 By: /s/ Martin Golando__

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